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                    UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION              MDL No.: 2804
OPIATE LITIGATION

THIS DOCUMENT RELATES TO:                 Case No.: 17-md-2804

“All Cases”                               Judge Dan Aaron Polster

                                          ORAL ARGUMENT REQUESTED




KROGER’S OBJECTION TO SPECIAL MASTER COHEN’S DISCOVERY RULING
     NO. 14, PART 32 REGARDING KROGER’S PRIVILEGE CLAIMS
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           Under Federal Rule of Civil Procedure 53(f), the Kroger Co., Kroger Limited Partnership I,

and Kroger Limited Partnership II (“Kroger”), object to DR 14-32 [Dkt. No. 5019] (the “Order”)

as to certain documents submitted herewith for in camera review (the “Privileged Materials”).

                                         PRELIMINARY STATEMENT

           In overruling Kroger’s privilege claims, “the Special Master adhered to ‘the distinction

between legal advice and business advice, applying the principle that compliance with regulations

is usually a business matter, not a legal one.’” Order at 3. But that is not the law. Rather, “[t]his

type of advice—how to comply with regulatory or statutory requirements—is precisely the type

of legal advice one would expect in-house counsel to provide to business people.” Jacob v. Duane

Reade, Inc., No. 11 Civ. 0160 (JMO) (THK), 2012 U.S. Dist. LEXIS 25689, at *9 (S.D.N.Y. Feb.

28, 2012) (holding in-house counsel’s recommendations on statutory compliance with the Fair

Labor Standards Act were protected “legal advice”).1 As demonstrated below, the Special

Master’s attempt to create a bright-line rule that advice concerning regulatory compliance is

“business advice” flies in the face of Supreme Court precedent and should be overruled.

           Further, the Special Master improperly relied on so-called “analogous circumstances

involving Cardinal’s Dendrite SOMS audit” to reach his decision. Order at 5. But the facts and

circumstances surrounding the creation of Cardinal’s “audit” are distinguishable from Kroger’s.

The primary purpose of Cardinal’s “audit” was to get into the DEA’s good graces after it revoked

the registration for several Cardinal distribution centers. DR 14-5 [Dkt. No. 1498] at 2–5 (finding

Cardinal attempted to “placate the DEA” by sharing Dendrite’s assessment). In other words,

Cardinal always anticipated sharing the results outside the company, specifically with the DEA;

the “audit” was never intended to remain confidential. Id. at 5, 8.



1
    Unless otherwise indicated, all emphasis is added and all internal citations and quotations are omitted.
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         In contrast, Kroger’s legal department directed BuzzeoPDMA (“Buzzeo”) to conduct an

investigation and assessment so that Kroger’s outside and in-house counsel could provide legal

advice to Kroger’s business personnel. Kroger never intended for the results of that investigation,

the Q&B Reports, to be shared with a third party. Because they were used to provide legal advice

and the company retained confidentiality over them at all times, they are precisely the types of

communications protected by attorney-client privilege. And the “false dichotomy” between legal

matters and regulatory compliance that the Special Master has created in this MDL should be

overruled. In re Kellogg Brown & Root, Inc., 756 F.3d 754, 758–59, 762 (D.C. Cir. 2014)

(Kavanaugh, J.) (granting mandamus because district court’s conclusion—that the purpose of an

internal investigation was to comply with regulatory requirements rather than to obtain or provide

legal advice—rested on a “false dichotomy” and constituted a “clear legal error”).

                                         STATEMENT OF FACTS

         A.      Kroger Seeks Legal Advice To Comply With Complex Regulatory Framework

         Kroger is most fundamentally a grocery store chain. Ex. A (Kroger 10-K) at 63.2 Certain

locations offer a pharmacy, which account for a sliver of Kroger’s overall business. Id. at 3, 63.

Given the highly regulated environment in which the pharmacy business segment operates, Kroger

understandably seeks the legal advice of its counsel (both in-house and outside) regarding

regulatory compliance matters. See Tucker Decl. ¶ 2.

         The Q&B Reports,3 two of the documents at issue in Special Master Cohen’s Order, were

generated, at the direction of Kroger’s in-house counsel, by an outside consultant to aid in the


2
  All references to “Ex. __” are exhibits to the Declaration of Ashley Hardesty Odell submitted contemporaneously
herewith. Exhibits K–O are the disputed Privileged Materials and are being submitted for in camera review via secure
email to the Court’s Clerk, Carrie Roush, titled “Kroger’s in camera submission for objections to Dkt. No. 5019.” All
references to the “Tucker Declaration” are to the Declaration of Frances Tucker, Esq., submitted contemporaneously
herewith.
3
  See Ex. L (KRO-PRIV-117); Ex. N (KRO-PRIV-119) (collectively, the “Q&B Reports”).


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provision of legal and regulatory advice to Kroger in the wake of DEA enforcement actions

involving other companies. In particular, in early 2012, the DEA suspended the distribution

license of a Cardinal facility in Florida. See Ex. B (Reuters 2.3.12); Ex. C (Cardinal Press Release

2.3.12). The DEA was also investigating certain Walgreens facilities in Florida around that time.

See Ex. D (DEA Press Release 9.14.12). The DEA suspended Walgreens’ distribution license a

few months later. See id.

       Shortly after news of Cardinal’s suspension became public, Kroger retained Quarles &

Brady, LLP in 2012 as outside counsel to provide legal advice and develop a regulatory action

plan to ensure that Kroger remained in compliance with DEA regulations and did not become the

target of an investigation. See Tucker Decl. ¶¶ 3–5. The lead Quarles & Brady partner, Larry

Cote, is a former DEA attorney and possessed particularized subject matter expertise in those areas.

See Ex. E (Cote Bio). Kroger’s in-house attorneys directed Quarles & Brady to review Kroger’s

controlled substance policies and procedures, and provide an analysis of Kroger’s compliance with

Drug Enforcement Agency (DEA)’s suspicious order monitoring (SOM) regulations. See Tucker

Decl. ¶ 5.

       Kroger’s in-house attorneys also engaged a third-party consultant to aid in the legal review.

In particular, in late 2012, at the direction of Quarles & Brady, Kroger began to engage in

discussions with an outside consultant, Buzzeo, to investigate and assess Kroger’s SOM program,

given their expertise in, among other things, the policies of the DEA, the requirements of the

Controlled Substances Act (CSA), federal implementing regulations, as well as state law across

the country. See Ex. F (Kroger-MDL00062168); Tucker Decl. ¶ 6. Quarles & Brady advised that

such an assessment would aid it in the provision of legal advice to Kroger. See Tucker Decl. ¶ 6.




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       Kroger’s in-house attorneys ultimately retained Buzzeo in January 2013 to perform an

onsite review and assessment of Kroger’s current SOM system at two pharmacies and one

distribution facility. See id. ¶ 8; Ex. G (KrogerSmithNMAG00002666) at 8. The scope of work

included, among other things, a report that included recommendations regarding Kroger’s SOM

system, leveraging Buzzeo’s extensive DEA and SOM knowledge. See Tucker Decl. ¶¶ 7–8; 12;

Ex. G (KrogerSmithNMAG00002666) at 8. The primary purpose of Buzzeo’s assessment was to

provide Kroger’s outside and in-house counsel with information and recommendations necessary

to facilitate the provision of legal advice to Kroger regarding compliance with DEA regulations.

See Tucker Decl. ¶¶ 8–9, 12. Paul Heldman, Kroger’s General Counsel at the time, acting in his

capacity    as    legal   counsel,   executed   the   agreement.      See    id.   ¶ 10;   Ex.   G

(KrogerSmithNMAG00002666) at 6.

       B.        Buzzeo Provides Information Necessary for the Provision of Legal Advice

       After weeks of investigation, Buzzeo issued the Q&B Reports relating to its onsite

assessment of (i) two Kroger pharmacies, and (ii) one distribution facility. See Tucker Decl. ¶ 11;

Ex. L (KRO-PRIV-117); Ex. N (KRO-PRIV-119). The Q&B Reports are addressed exclusively

to Kroger’s outside counsel, Quarles & Brady. See Tucker Decl. ¶ 13; Ex. L (KRO-PRIV-117);

Ex. N (KRO-PRIV-119). The e-mails transmitting each report were sent only to Mr. Cote,

Kroger’s outside counsel. See Tucker Decl. ¶ 13; Ex. K (KRO-PRIV-116); Ex. M (KRO-PRIV-

118). Every page of the Q&B Reports contains an “Attorney-Client Privilege” watermark. See

Tucker Decl. ¶ 13; Ex. L (KRO-PRIV-117); Ex. N (KRO-PRIV-119). Mr. Cote transmitted each

Q&B Report to Kroger’s in-house counsel, Frances Tucker, under the Attorney-Client Privilege

banner, providing his initial legal impressions in the body of the e-mail. See Tucker Decl. ¶ 14;

Ex. K (KRO-PRIV-116); Ex. M (KRO-PRIV-118). Ms. Tucker, in turn, transmitted the Q&B

Reports to Kroger’s senior management, also under the privilege banner and providing her own


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initial legal impressions, and cautioning that the information was not for dissemination and should

not be provided to a third party of any kind. See Tucker Decl. ¶ 15; Ex. K (KRO-PRIV-116); Ex.

M (KRO-PRIV-118). These communications confirm that at all times, Kroger’s in-house and

outside counsel intended for the Q&B Reports to remain confidential and not be shared with third

parties. See Tucker Decl. ¶¶ 11, 13–15; Ex. K (KRO-PRIV-116); Ex. M (KRO-PRIV-118).

       The Q&B Reports contain Buzzeo’s observations, analysis, and recommendations based

on the information provided to Buzzeo by Kroger’s in-house team and individuals Buzzeo

interviewed. See Tucker Decl. ¶ 12; Ex. L (KRO-PRIV-117); Ex. N (KRO-PRIV-119). Buzzeo’s

opinions and recommendations for the continued improvement of Kroger’s diversion prevention

programs and applicable federal regulations represented its best professional judgment based on

its knowledge of the CSA and its implementing regulations, and Buzzeo’s experience with them.

See Tucker Decl. ¶ 12; Ex. L (KRO-PRIV-117); Ex. N (KRO-PRIV-119). The Q&B Reports were

provided to Kroger’s outside and in-house counsel to facilitate the provision legal advice to

Kroger’s management. See Tucker Decl. ¶¶ 7, 9. Indeed, even in the e-mails simply transmitting

the reports, both outside and in-house counsel provided Kroger with legal advice. See id. ¶¶ 14–

15; Ex. K (KRO-PRIV-116); Ex. M (KRO-PRIV-118). As time went on, the Q&B Reports

continued to assist Kroger’s counsel in the provision of legal advice to Kroger’s business

personnel. See Tucker Decl. ¶ 16.

       C.      Procedural History of Plaintiffs’ Requests to Deny Kroger’s Privilege

       Kroger first claimed privilege over the Q&B Reports in a privilege log disclosed to the

MDL plaintiffs in early August 2022. Ex. H (9.30.22 Ltr.). A few days later, a state court judge

in New Mexico ordered Kroger to produce the Q&B Reports to the New Mexico Attorney General

(“NMAG”). Ex. H (9.30.22 Ltr.). Kroger did so promptly as required by the New Mexico court’s

order, but maintained at all times that the records were privileged. Ex. H (9.30.22 Ltr.). For this


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reason, after the production of the Q&B Reports in the New Mexico action, Kroger continued

asserting privilege over these materials in the MDL—including on a privilege log disclosed to the

MDL plaintiffs. However, after Plaintiffs threatened sanctions against Kroger for failing to

produce the Q&B Reports, Kroger determined that Court orders in the MDL—specifically, DR-22

and Dkt. No. 3633—required the production of those materials. Kroger therefore produced the

Q&B Reports pursuant to the Court’s orders, while maintaining its assertion of privilege over the

materials. Indeed, the Court order pursuant to which Kroger produced the Q&B Reports expressly

acknowledges that the production of documents under that order does not waive privilege. See

Dkt. No. 3633 (concluding a party’s “past or future compliance with the Court’s orders does not

suggest [the party] has waived its rights on appeal to argue that such documents are privileged”).

         Two weeks ago, the Special Master issued the Order overruling Kroger’s privilege claim

and ordering the production of the Privileged Materials. See Dkt. No. 5019.

                                                  ARGUMENT

I.       THE SPECIAL MASTER ERRED IN APPLYING THE LAW OF PRIVILEGE.4

         Despite recognizing that communications are privileged if they have a primary purpose of

soliciting legal, rather than business advice, Order at 1–2, the Special Master ordered Kroger to

produce the Privileged Materials based on his conclusion that they “reflect regulatory compliance

advice related to the Controlled Substances Act and its implementing regulations.” Id. at 3. But

in analyzing the primary purpose here, the Special Master made several key errors. First, by

announcing that “compliance with regulations is usually a business matter, not a legal one,” id.,


4
  Kroger does not dispute that the Sixth Circuit has set forth the essential elements of the attorney-client privilege:
(1) Where legal advice of any kind is sought (2) from a professional legal adviser in his capacity as such, (3) the
communications relating to that purpose, (4) made in confidence (5) by the client, (6) are at his insistence permanently
protected (7) from disclosure by himself or by the legal adviser, (8) unless the protection is waived. See, e.g., DR 14-
5 at 8. Nor does Kroger dispute that “[t]he burden of establishing the existence of the privilege rests with the person
asserting it.” Id. at 9 (quoting United States v. Dakota, 197 F.3d 821, 825 (6th Cir. 2000)).


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the Special Master improperly created a rigid distinction between business matters and legal

advice. Second, it is simply not true that “compliance with regulations is usually a business

matter.” None of the authority cited by the Special Master supports that proposition, and the

authority he incorporates into the Order mandates a different result. Third, when analogizing the

Q&B Reports to the Dendrite audits that Cardinal commissioned, the Special Master failed to

consider that Cardinal always intended sharing those results with the DEA. Kroger, on the other

hand, never intended to share the Q&B Reports with a third party. This Court should vacate the

Order.

         A.     The Special Master’s Application of the Primary Purpose Test Created a False
                Dichotomy between Business Advice and Legal Advice.

         When “sensibly and properly applied,” the primary purpose test “cannot and does not draw

a rigid distinction between a legal purpose on the one hand and a business purpose on the other.”

Kellogg, 756 F.3d at 759. A bright-line rule that advice concerning regulatory compliance is

business advice would “fly in the face” of Upjohn. City of Roseville Emps. Ret. Sys. v. Apple Inc.,

No. 19-cv-02033-YGR (JCS), 2022 U.S. Dist. LEXIS 139843, at *34–36 (N.D. Cal. Aug. 3, 2022).

Rather, the primary purpose test “boils down to whether obtaining or providing legal advice was

one of the significant purposes of the attorney-client communication.” Kellogg, 756 F.3d. at 760;

see also Edwards v. Scripps Media, Inc., No. 18-10735, 2019 U.S. Dist. LEXIS 97006, at *3–4

(E.D. Mich. June 10, 2019) (if one of the significant purposes of the internal investigation was to

obtain or provide legal advice, the privilege will apply); Restatement (Third) of the Law Governing

Lawyers § 72 (2000) (“In general, American decisions agree that the privilege applies if one of

the significant purposes of a client communicating with a lawyer is that of obtaining legal

assistance.”). Privilege applies, “even if there were also other purposes for the investigation and




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even if the investigation was mandated by regulation rather than simply an exercise of company

discretion.” Kellogg, 756 F.3d at 758–59.

        Kellogg—which applied the “primary purpose” test that governs in this Circuit and has

been favorably cited by district courts within the Sixth Circuit5—counsels overruling the Special

Master here. There, the D.C. Circuit granted a writ of mandamus and vacated the district court’s

decision holding that documents relating to an internal investigation were not privileged because

“the primary purpose of the internal investigation was to comply with federal defense contractor

regulations, not to secure legal advice.” Kellogg, 756 F.3d at 756, 759. In reaching its decision,

the district court reasoned that because Department of Defense regulations required defense

contractors to maintain compliance programs and conduct internal investigations into allegations

of potential wrongdoing, the primary purpose of the investigation was to comply with those

regulations. Id. at 758. In vacating the district court’s decision, the D.C. Circuit concluded that

the district court’s decision “rested on a false dichotomy,” was “legally erroneous,” and

“irreconcilable with Upjohn.” Id. at 756–58.

        Therefore, that the Privileged Materials relate to “compliance with SOMS and other DEA

regulatory requirements” does not automatically and exclusively place them in the ambit of

“business advice.” Rather, as in Kellogg, their primary purpose was to assist in the provision of

legal advice to Kroger regarding regulatory compliance and, therefore, they are privileged.

Further, as in Alomari, the advice Kroger sought from outside and in-house counsel could only be




5
 See Edwards, 2019 U.S. Dist. LEXIS 97006, at *3–4; Myers v. City of Centerville, No. 3:20-cv-00402, 2023 U.S.
Dist. LEXIS 8297, at *10 (S.D. Ohio Jan. 17, 2023); accord Alomari v. Ohio Dep't of Pub. Safety, 626 F. App’x 558,
570 (6th Cir. 2015) (“[P]redominant purpose should be assessed dynamically and in light of the advice being sought
or rendered, as well as the relationship between advice that can be rendered only by consulting the legal authorities
and advice that can be given by a non-lawyer.”).


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rendered by “consulting the legal authorities” based on Buzzeo’s investigation. 626 F. App’x at

570.

       B.      The Special Master is Incorrect that Compliance with Regulations is Usually
               a Business Matter.

               1.      The Special Master Misstated the Law.

       The law does not support the Special Master’s conclusion that “compliance with

regulations is usually a business matter, not a legal one.” Order at 3. The need for attorney-client

privilege “is at its height where the law with which the client seeks to comply is complicated and

the penalties for noncompliance are great.” Wachtel v. Health Net, Inc., 482 F.3d 225, 237 (3d

Cir. 2007). Therefore, a lawyer’s recommendation of a policy that complies (or better complies)

with a legal obligation—or that advocates and promotes compliance, or oversees implementation

of compliance measures—is legal advice. See Yellowstone Women’s First Step House, Inc. v. City

of Costa Mesa, No. SACV 14-01852-JVS, 2018 U.S. Dist. LEXIS 229229, at *11 (C.D. Cal. May

9, 2018) (protecting documents involving an “assessment and guidance in complying with

applicable laws”). Helping a corporation comply with a statute or regulation—although required

by law—does not transform quintessentially legal advice into business advice. See Kellogg, 756

F.3d at 760 (citing Andy Liu et al., How to Protect Internal Investigation Materials from

Disclosure, 56 Government Contractor ¶ 108 (Apr. 9, 2014)). For example, advice as to how best

to “comply with SEC regulations,” is “precisely” the type of guidance for which a corporation

would likely rely on counsel. Roth v. Aon Corp., 254 F.R.D. 538, 541 (N.D. Ill. 2009).

       Furthermore, to the extent compliance with legal requirements constitutes a “business

decision”—which it does not in this instance—the attorney-client privilege protects an attorney’s

legal advice about a business decision. Crabtree v. Experian Info. Sols., Inc., No. 1:16-cv-10706,

2017 U.S. Dist. LEXIS 173905, at *6 (N.D. Ill. Oct. 20, 2017) (quoting Perius v. Abbott Lab’ys,



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2008 U.S. Dist. LEXIS 83775, at *22 (N.D. Ill. Aug. 20, 2008)); see also Marusiak v. Adjustable

Clamp Co., No. 01 C 6181, 2003 U.S. Dist. LEXIS 9450, at *4–5 (N.D. Ill. June 5, 2003) (“While

it is true that solely personal or business advice is not protected by the attorney-client privilege,

legal advice relating to business matters clearly is.”). For example, in Crabtree, the court protected

documents relating to an internal investigation conducted to determine whether a business decision

complied with Federal Credit Reporting Act regulations. 2017 U.S. Dist. LEXIS 173905, at *6–

7. The same should be true of the Q&B Reports, which related to Kroger’s compliance with its

own applicable regulatory scheme.

                    2.       The Authority Cited by the Special Master Does Not Support His
                             Interpretation of the Law.

           None of the authority cited by the Special Master supports his conclusion that “compliance

with regulations is usually a business matter, not a legal one.” Order at 3 (citing Zigler v. Allstate

Ins. Co., 2007 WL 1087607, at *1 (N.D. Ohio Apr. 9, 2007); FTC v. Abbvie, Inc., No. 14-5151,

2015 WL 8623076, at *9 (E.D. Pa. Dec. 14, 2015)).6 In Zigler, the court held that all of the

disputed documents were “properly shielded from discovery by the attorney-client privilege.”

2007 WL 1087607, at *4. In so holding, the court observed that documents prepared for the

purpose of obtaining or rendering legal advice are protected even though the documents also reflect

or include business issues. See id. at *1 (quoting In re OM Grp. Sec. Litig., 226 F.R.D. 579, 587

(N.D. Ohio 2005)). Similarly, the mere fact that business considerations are weighed in the

rendering of legal advice does not vitiate the privilege. See id.

           Nor does Abbvie support the Special Master’s conclusion. The Special Master quoted

Abbvie for the thoroughly unremarkable proposition that attorney-client privilege “does not apply

if the client seeks regulatory advice for a business purpose.” Abbvie, 2015 WL 8623076, at *9.


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    The Special Master’s citation to Abbvie is by reference to DR 14-12.


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As a preliminary matter, that formulation assumes that the conclusion of the primary purpose test

would be that such advice was rendered for a business purpose. More importantly, however,

Abbvie does not support the logical leap that the Special Master has made in this MDL—

specifically, that compliance with regulations is usually a business matter and, therefore, any

related advice does not constitute protected legal advice. In this case, the regulatory advice was

not sought for a business purpose. Rather, Kroger’s in-house counsel sought regulatory advice

from Quarles & Brady in light of the DEA’s regulatory enforcement actions against other

companies, and in order to best position the company to contend with possible regulatory

investigations or enforcement actions that were sweeping the industry.              This involved

quintessentially legal, rather than business, advice to the company.

               3.      Binding Authority Cited by the Special Master Mandates Protection of the
                       Privileged Materials.

       Attorney-client privilege “exists to protect not only the giving of professional advice to

those who can act on it, but also the giving of information to the lawyer to enable [them] to give

sound and informed advice.” DR 14-5 at 10 (quoting Upjohn Co. v. United States, 449 U.S. 383,

390 (1981)). The “privilege applies to factual investigations conducted by counsel at a corporate

client’s request (to provide legal advice to that client), and also to agents of an attorney who are

assisting in rendering legal advice to the client.” DR 14-5 at 10 (quoting In re Behr Dayton

Thermal Prods., LLC, 298 F.R.D. 369, 373 (S.D. Ohio 2013)); see also Graff v. Haverhill N. Coke

Co., No. 1:09-cv-670, 2012 WL 5495514, at *15 (S.D. Ohio Nov. 13, 2012) (“The attorney-client

privilege extends to agents of the attorney where the confidential communication was made for

the purpose of assisting the attorney in rendering legal advice to the client.”).

       Although the Special Master cited Graff three times in DR 14-5, and incorporated that

decision by reference into the Order, the Special Master ignored that case—and its reasoning—



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when ruling on Kroger’s Privileged Materials. In Graff, the court held that “audits” generated by

two separate outside consulting firms were privileged. 2012 WL 5495514, at *10, *13, *15.

There, the client directed the consultants to “assess its compliance with regulatory requirements

and company policies”—specifically, certain EPA regulations. Id. at *9, *13 (consultant “retained

to provide assistance in assessing . . . compliance with federal regulations”). Because the audit

reports contained “more than raw information and/or data” but also included the “advice and

opinions” of the consultant’s personnel “directed to [the client] on legal compliance issues,” the

court found that they contained legal advice and were therefore privileged. Id. at *9–10.

       The same is true here. Kroger’s counsel initiated an investigation to gather facts and assess

compliance with the law with a primary purpose of providing legal advice to the company. See

Tucker Decl. ¶¶ 5–9, 12. At the direction and with the participation of Kroger’s law department,

non-attorneys conducted the fact gathering and interviews of Kroger employees. See id. ¶¶ 7–8,

11–12; Ex. L (KRO-PRIV-117); Ex. N (KRO-PRIV-119); Graff, 2012 WL 5495514, at *9;

Kellogg, 756 F.3d at 758. Buzzeo provided facts, data, recommendations, and opinions to

Kroger’s in-house and outside counsel in order to facilitate the provision of legal advice. Tucker

Decl. ¶¶ 7–9, 11–12, 16; Graff, 2012 WL 5495514, at *9. Finally, the information gathered by

Buzzeo was maintained in the “strictest of confidentiality.” Ex. F (Kroger-MDL00062168) at 2.

       C.      Kroger is Distinguishable from Cardinal Because Kroger At All Times
               Maintained Confidentiality Over the Privileged Materials.

       The Special Master improperly relied on his reasoning from DR 14-5, which he erroneously

applied to Kroger because he incorrectly assumed Kroger was similarly situated to Cardinal. In

DR 14-5, the Special Master compelled the production of several “audits” performed by Cardinal’s

outside consultant, Dendrite. But the facts and circumstances surrounding the creation and

treatment of the Dendrite audits render the Special Master’s analysis inapplicable here.



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         After the DEA revoked Cardinal’s registration for four of its distribution centers, Cardinal

quickly retained Dendrite. DR 14-5 at 2. To “placate” the DEA and avoid additional show cause

orders, Cardinal offered to share the results of Dendrite’s assessment with the DEA. Id. at 5–6.7

Because Cardinal repeatedly offered, and did, share Dendrite’s observations and conclusions with

the DEA, the circumstances created a “clear picture” that the work and advice Dendrite provided

was not legal. Id. at 14. Furthermore, the Special Master held that it was “entirely inconsistent”

for Cardinal to advertise Dendrite as an “independent third-party” to the DEA, offering to share

Dendrite’s observations and conclusions with the DEA, while simultaneously insisting Dendrite

was Cadwalader’s agent, gathering only privileged information to support counsel’s provision of

legal services. Id.

         No such inconsistency exists here. There has never been any suggestion that Kroger

commissioned the Q&B Reports with the intention of sharing them with the DEA, or any other

third party. See Tucker Decl. ¶¶ 11, 13–15. In fact, when transmitting the reports to a small group

of Kroger personnel, Kroger’s in-house counsel expressly stated “[t]his report is not for wide

dissemination and is definitely not to be provided to a third party of any kind.” Ex. K (KRO-

PRIV-116).

         Nor did Kroger ever represent that Buzzeo was an “independent third party” or herald its

work in order to appease the DEA and escape sanction. See Tucker Decl. ¶¶ 11, 13–15. Buzzeo

has always been Kroger’s agent, retained to gather information and assess Kroger’s compliance




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  See DR 14-5 at 2–5 (Cardinal retained a consulting firm, Dendrite, to share with the DEA a “detailed and on-the-
ground assessment of the current effectiveness of [Cardinal’s] anti-diversion controls”); id. at 7 (“Cardinal’s promise
to the DEA that it would use Dendrite to ‘develop a corrective action plan and implement improvements arising out
of its independent third-party investigation’ began to come true when, on January 23, 2008, Dendrite delivered to
Cadwalader the ‘Dendrite Audit.’”). DR 14-5 is incorporated by reference into the Order. See Order at 1 n.3.


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with regulatory requirements so that, in turn, Kroger’s in-house and outside counsel could render

legal advice to Kroger’s management. See id. ¶¶ 5–9, 11–16.

       Finally, the Special Master incorrectly suggested, in a footnote, that privilege did not apply

to Cardinal’s “audit” because the retention agreement defined Dendrite as an “independent

contractor.” See DR 12-5 at 14 n.10. To the contrary, courts take “an expansive view of protected

communications between independent contractors and counsel where the outside consultant

functions like an employee in providing information which facilitates the obtaining of legal

advice.” Cottillion v. United Refin. Co., 279 F.R.D. 290, 299 (W.D. Pa. 2011); see also In re

Bieter Co., 16 F.3d 929, 937 (8th Cir. 1994) (“[W]hen applying the attorney-client privilege to a

corporation or partnership, it is inappropriate to distinguish between those on the client’s payroll

and those who are instead, and for whatever reason, employed as independent contractors.”);

United States ex rel. Fry v. Health All. of Greater Cincinnati, No. 1:03-cv-167, 2009 WL 5033940,

at *4 (S.D. Ohio Dec. 11, 2009) (“As long as the independent contractor has a role similar to that

of an employee [ ], communications between the contractor and attorneys for the purpose of

seeking legal advice are privileged.”). Therefore, although Buzzeo is described as an “independent

contractor” in its agreement with Kroger, that designation does not affect this Court’s privilege

analysis. See Ex. G (KrogerSmithNMAG00002666) § 9.2. This Court should overrule the Special

Master and hold that the Privileged Materials discussed below are protected by the attorney-client

privilege.




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II.    THE PRIVILEGED               MATERIALS          SHOULD        BE     PROTECTED          FROM
       DISCLOSURE.

       A.      The Q&B Reports and Transmittal Emails are Privileged.8

       The Q&B Reports are privileged. As the Supreme Court has observed, the “first step in

the resolution of any legal problem is ascertaining the factual background and sifting through the

facts with an eye to the legally relevant.” Upjohn, 449 U.S. at 390–91. Faced with regulatory

uncertainty, and potential legal exposure, Kroger retained Quarles & Brady to provide legal advice.

See Tucker Decl. ¶¶ 3–4. After reviewing Kroger’s policies and procedures, Quarles & Brady

advised Kroger’s in-house legal department to engage Buzzeo to gather information and make

recommendations to facilitate Quarles & Brady’s provision of legal advice to Kroger regarding

DEA regulations. See id. ¶¶ 5–6. Kroger did so and at the direction of Kroger’s in-house counsel,

Buzzeo conducted two separate assessments of Kroger’s SOM program. See id. ¶¶ 7–9, 11–12.

To perform the assessment, Buzzeo conducted interviews of Kroger employees, reviewed Kroger’s

policies and procedures, and provided the Q&B Reports—containing observations, analysis,

recommendations, and Buzzeo’s opinions regarding Kroger’s compliance with DEA regulations—

to outside counsel so that Quarles & Brady and Kroger’s in-house lawyers could provide legal

advice to Kroger regarding those same regulations. See generally id.

       Regardless of the moniker ascribed to the Q&B Reports—audit, report, assessment, or

investigation—their purpose was to assist counsel in providing legal advice to Kroger and they are

protected from disclosure. None of the authority cited by the Special Master alters that outcome.

For example, in Waters v. Drake, the outside consultant was a public relations firm. No. 2:14-cv-

1704, 2015 U.S. Dist. LEXIS 164179, at *4, *6–7 (S.D. Ohio Dec. 8, 2015) (“[I]t is generally true



8
 Ex. K (KRO-PRIV-116) is the transmittal e-mail for the March 12, 2013 Q&B Report (Ex. L (KRO-PRIV-117).
Ex. M (KRO-PRIV-118) is the transmittal e-mail for the March 25, 2013 Q&B Report (Ex. N (KRO-PRIV-119)).


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that sharing attorney-client privileged communications with a public relations firm is a waiver of

the privilege.”). There, the public relations firm was not retained to assist in ensuring compliance

with the law, but “as part of an effort to craft announcements which would be more palatable to

the media or the public.” Id. at *6–7.9 It is similarly unsurprising that the consultant’s report was

not privileged in Occidental Chemical Corp. v. OHM Remediation Services Corp., 175 F.R.D. 431

(W.D.N.Y. 1997). Unlike Buzzeo, who could not have provided any assessment whatsoever

without reviewing Kroger’s policies and procedures and speaking to its employees, the Occidental

consultant’s analysis related exclusively to the physical condition of a plot of land and was entirely

independent of client confidences. Id. at 437.10 Furthermore, the consultants in both Occidental

and Phelps Dodge were retained to share information with the New York State Department of

Environmental Conservation—just like Cardinal’s consultant. See id. Here, on the other hand,

both Buzzeo and Kroger have always treated Buzzeo’s findings with the strictest confidence.

         The e-mails transmitting the Q&B Reports are also privileged. Outside counsel’s e-mails

to Kroger’s in-house counsel are marked “Attorney-Client Privilege.” See Tucker Decl. ¶ 14; Ex.

K (KRO-PRIV-116); Ex. M (KRO-PRIV-118). So too are Ms. Tucker’s e-mails to Kroger

business personnel. See Tucker Decl. ¶ 15; Ex. K (KRO-PRIV-116); Ex. M (KRO-PRIV-118).

Further, both Mr. Cote and Ms. Tucker provided their initial legal impressions of the Q&B Reports

in the body of the e-mails. See Tucker Decl. ¶¶ 14–15; Ex. K (KRO-PRIV-116). Both the e-mails




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  Notably, the court rejected the defendant’s attempt to analogize to Graff reasoning “there is a large factual difference
between environmental audit reports prepared by an engineering consultant [like in Graff] and public relations advice
given to a university which is fully aware that a decision it is about to make will spark great public and media interest.”
Waters, 2015 U.S. Dist. LEXIS 164179, at *6.
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   See also United States Postal Serv. v. Phelps Dodge Refin. Corp., 852 F. Supp. 156, 162 (E.D.N.Y. 1994) (“Such
underlying factual data can never be protected by the attorney-client privilege and neither can the resulting opinions
and recommendations. There are few, if any, conceivable circumstances where a scientist or engineer employed to
gather data should be considered an agent within the scope of the privilege since the information collected will
generally be factual, obtained from sources other than the client.”).


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and the Q&B Reports themselves are therefore privileged. See Graff, 2012 WL 5495514, at *14

(e-mail reflecting counsel’s initial legal impressions about consultant’s audit were privileged).

         B.     KRO-PRIV-167 Should be Redacted

         The Special Master held that the “overriding thrust” of Kroger’s internal February 2013 e-

mails is “addressing business and regulatory matters, not the provision of legal advice.” Order at

7.     According to the Special Master, this chain addresses various concerns surrounding

implementation of Buzzeo’s SOMS recommendations, accounting for the cost of Buzzeo’s work,

and gathering appropriate personnel. See Order at 6.

         Kroger withdraws its privilege claim with respect to most of the e-mail chain (Ex. O). But

the February 26, 2013 e-mail from Ms. Tucker at 5:51 p.m. puts into proper context Kroger’s

retention of Quarles & Brady and, in turn, Buzzeo. See Ex. O (KRO-PRIV-167). It also

independently provides in-house counsel’s legal impressions and opinions. See id. Kroger

requests that the first paragraph of that e-mail be redacted.

III.     KROGER DID NOT WAIVE PRIVILEGE OVER THE Q&B REPORTS.

         The PEC has argued that Kroger waived privilege over the Q&B Reports because Kroger

produced the documents, over the company’s objection, to comply with an order from a New

Mexico state court. Ex. I (NM Order). The Special Master held that this issue was moot because

he concluded the “reports are not privileged.” Order at n.9. If the Court finds that the Q&B

Reports are privileged, it should find that Kroger has not waived its claim.

         The Federal Rules of Evidence provide that production of materials in state court does not

waive privilege in a federal court proceeding “if the disclosure: (1) would not be a waiver under

this rule if it had been made in a federal proceeding; or (2) is not a waiver under the law of the

state where the disclosure occurred.” Fed. R. Evid. 502(c). These requirements are satisfied here.

It is well settled that a party’s compelled disclosure of privileged communications does not waive


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privilege because the disclosure is not voluntary. See Pension Comm. v. Banc of Am. Sec., LLC,

No. 05 Civ. 9016 (SAS), 2009 WL 2921302, at *1 (S.D.N.Y. Sept. 8, 2009); Hopson v. Mayor &

City Council of Balt., 232 F.R.D. 228, 243–44 (D. Md. 2005). Even the strictest waiver doctrines

do not construe compliance with court orders as a waiver. See, e.g., In re Sealed Case, 877 F.2d

976, 980 (D.C. Cir. 1989) (“Short of court-compelled disclosure . . . we will not distinguish

between various degrees of voluntariness in waivers of the attorney-client privilege.”). New

Mexico law does not require a different result. See N.M. R. Evid. 11-511 (privilege waiver applies

to information “voluntarily disclose[d]”). Therefore, Kroger’s production of the Q&B Reports in

New Mexico did not waive Kroger’s privilege objection over the materials.

       Plaintiff’s waiver argument in connection with this dispute focused exclusively on the

production of the Q&B Reports in New Mexico. See Ex. J (4-18 PEC Reply Br.) (“Kroger’s

conduct in New Mexico resulted in waiver of privilege.”). Plaintiffs have not argued that Kroger’s

production of the Q&B Reports in the MDL constitutes waiver, nor could they. Kroger has always

maintained privilege over the Q&B Reports, and it produced them in the MDL based on Court

orders compelling their production. Specifically, DR-22 required Kroger to produce materials

produced in other state actions, including the New Mexico action. And the Special Master ordered

the parties to proactively apply the Special Master’s decisions overruling privilege determinations

to “similar documents” on their privilege logs and produce those documents—subject to a

reservation of their privilege objections. See Dkt. No. 3633 (concluding a party’s “past or future

compliance with the Court’s orders does not suggest [the party] has waived its rights on appeal to

argue that such documents are privileged”). While Kroger believes that the Special Master’s

conclusion in DR 14-5 should not apply to the Q&B Reports, Kroger reasonably determined that

the Special Master would conclude the Q&B Reports were “similar” to the reports at issue in DR




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14-5. Kroger thus concluded that the Special Master compelled it to produce the Q&B Reports.

But because compelled productions do not waive privilege objections, Kroger’s production of the

Q&B Reports pursuant to DR-22 and Dkt. No. 3633 does not constitute waiver.

                                           CONCLUSION

       For the forgoing reasons, Kroger respectfully requests that the Court sustain this Objection,

vacate the Special Master’s Order, and hold that the Privileged Materials are protected from

disclosure by attorney-client privilege.



 Dated: May 10, 2023                          Respectfully submitted,
        Charleston, West Virginia
                                              The Kroger Co., Kroger Limited Partnership
                                              I, Kroger Limited Partnership II,

                                              By counsel,

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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on May 10, 2023, the foregoing document was filed

with the Clerk of Court using the CM/ECF system which will send notice to all counsel of record.


                                                    s/Ronda L. Harvey
                                                    Ronda L. Harvey, Esq. (WVSB 6326)




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